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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
U.S. SECURITIES AND EXCHANGE           :
COMMISSION,
                                       :
               Plaintiff,
                                                        Civil Action No. 19-cv-5244 (AKH)
                                       :
       vs.
                                                        Acknowledgement of Non-Disclosure
                                                   :
KIK INTERACTIVE INC.,

                   Defendant.                      :

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       I, _______________________, acknowledge that I have read and understand the

Protective Order in this action governing the non-disclosure of those portions of material that has

been designated as CONFIDENTIAL or HIGHLY CONFIDENTIAL (“Protected Information”).

I agree that I will not disclose such Protected Information to anyone other than as permitted by

the Protective Order, and that at the conclusion of the litigation I will return all disclosed

Protected Information to the party or attorney from whom I received it. By acknowledging these

obligations under the Protective Order, I understand that I am submitting myself to the

jurisdiction of the United States District Court for the Southern District of New York for the

purpose of any issue or dispute arising hereunder and that my willful violation of the Protective

Order could subject to me punishment for contempt of Court.




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